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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




IN RE:                                Case Nos.   CR115-072, USA v. Henderson
                                                  CR115-077, USA v. Howard et al
                                                  CR115-093, USAv. Hodge
LEAVE OF ABSENCE REQUEST                          CR115-107, USAv. McGhee
                                                  CR116-027, USAv. Heath
                                                  CR116-028, USAv. Johnson
PATRICIA G.RHODES                                 CR116-033, USAv. Anfield
August 22, 2016 - August 26, 2016                 CR116-034, USAv. Guarduno- Rivera et al
                                                  CR116-043, USAv. Drake
                                                  CR116-051, USAv. Spears
                                                  CR116-053, USAv. Tarver




                                           ORDER

         Patricia G. Rhodes having madeapplication to the Courtfor a leave of absence, and it
being evident from the application that the provisions of Local Rule 83.9 have been complied
with, and no objections having been received;
         IT IS HEREBY ORDERED THAT Patricia G. Rhodes be granted leave of absence for

thefollowing periods: Augus^j 22,2016 through August 26,2016.
         This <£& day of ^jUx^f .2016.



                                                       LE J. RAWAL HALLi
                                                     ates DistrictJudge
                                            Souther^ District of Georgia
